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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES,
        v.                                             Criminal Action No. 03-cr-331-14 (CKK)

 WALDEMAR LORENZANA-CORDON (14),
        Defendant.

                                             ORDER
                                          (April 11, 2018)

       On April 2, 2009, a federal grand jury returned an indictment against Defendant

Waldemar Lorenzana-Cordon charging Defendant with conspiring to manufacture, distribute and

import cocaine into the United States from in or around March 1996 through 2009. Defendant

was subsequently extradited to the United States from Guatemala. On March 22, 2016, after a

five week trial, a jury returned a guilty verdict against Defendant.

       After resolving several post-trial motions, the Court set a hearing for Defendant’s

sentencing on September 27, 2017. However, that hearing was subsequently postponed because

Defendant and his counsel could not agree on an approach to sentencing. The hearing was then

temporarily vacated when defense counsel informed the Court that Defendant intended to orally

raise new factual issues at his sentencing. The Court gave Defendant an opportunity to submit a

pleading that addressed these new issues in writing instead of presenting them for the first time

orally at his sentencing. No such pleading was ultimately filed. Nevertheless, the Court

understood from defense counsel that there were still issues Defendant sought to raise orally at

his sentencing, and that some of these issues overlapped with arguments that co-Defendant Eliu

Lorenzana-Cordon had raised in relation to his own sentencing. The Court opted to move

forward with co-Defendant Eliu’s sentencing and resolve these issues in that context before

sentencing Defendant Waldemar.

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       On January 18, 2018, the Court issued an Order addressing many of the arguments

Defendant Eliu had raised related to his sentencing. Defendant Eliu was then sentenced on

February 22, 2018. Thereafter, the Court gave Defendant Waldemar an opportunity to consider

the Court’s January 18 Order, and submit a written pleading raising any additional arguments

relevant to his sentencing that he had not already raised and that he would seek to raise orally at

his own sentencing. On April 5, 2018, Defendant’s counsel filed a Statement of Counsel

indicating that Defendant appears to agree with his counsel that no new issues or arguments

needed to be raised at this time, and that he would like to move forward with his sentencing.

Therefore, the Court would expect that no new issues other than the ones addressed in this Order

will be raised at the sentencing.

       Accordingly, by separate Order, the Court will set a new sentencing date for the

Defendant. The following Order addresses several contested legal and factual issues related to

that sentencing.

A. Defendant’s Possession of Firearms

       Defendant has objected to the Probation Officer’s recommendation that the Court apply

an enhancement for the possession of a dangerous weapon (including a firearm) under U.S.S.G.

2D1.1(b)(1). Defendant’s objection is overruled. The evidence at trial showed that Defendant

possessed firearms during and in furtherance of his drug trafficking activities. For example,

witnesses testified that Defendant and his workers possessed firearms during the receipt and

distribution of cocaine shipments. See, e.g., ECF No. 781 (March 2, 2016 Trial Transcript,

morning) at 76:14-20. One witness also testified that she saw “80-100” armed men on

Defendant’s property during a drug transaction. ECF No. 788 (March 8, 2016 Trial Transcript,

morning) at 40:22-25. That same witness also testified that she attended a meeting with



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Defendant to discuss the theft of $3 million of narcotics, at which Defendant and others drew

pistols and slammed them down on a table in front her. Id. at 42:21-24. One of Defendant’s

associates pointed a gun at the witness, while Defendant pointed his gun at another individual.

Id. at 42:25-43:4. The Court finds that the enhancement for the possession of firearms clearly

applies.

B. Use of Aircraft

       Next, the Probation Officer recommended that the Court also apply a two level increase

to the offense level computation because “[t]he co-conspirators used an aircraft other than a

regularly scheduled commercial air carrier to import controlled substances.” Section 2D1.1(b)

states that a two level increase is authorized “[i]f the defendant unlawfully imported or exported

a controlled substance under circumstances in which . . . an aircraft other than a regularly

scheduled commercial air carrier was used to import or export the controlled substance.”

Defendant argues that this enhancement does not apply.

       The Court disagrees. Although the record does not indicate that Defendants’ drug

trafficking organization used an aircraft to accomplish the final stage of importation—i.e., the

actual crossing of the United States border with cocaine—the record does show that for years the

organization used aircraft as part of an overall scheme to import cocaine into this country.

Defendant in particular was involved in the use of aircraft, acting as a “lookout” for aerial

shipments. See, e.g., ECF No. 780 (March 1, 2016 Trial Transcript, afternoon) at 42:24.

Importing controlled substances is often an intricate process involving multiple stages, and a

plain reading of section 2D1.1(b) does not indicate that the increase applies only if an aircraft is

used in the final border crossing stage of that process. Where, as here, Defendants established

and repeatedly used a regular scheme for importing cocaine into the United States that



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incorporated the use of non-commercial aircraft, the two level increase set forth in section

2D1.1(b) is appropriate.

       The Court is not aware of any case law from this Circuit addressing this issue. The

parties have presented the Court with three cases from other Circuits which they contend are

relevant. The first case is United States v. Chastain, 198 F.3d 1338 (11th Cir. 1999), in which the

Eleventh Circuit concluded that section 2D1.1(b) did not apply in an instance where the

defendants had merely intended to import controlled substances into the United States by use of

an airplane. The court held that the enhancement was not applicable under such circumstances

because “the language of the guideline clearly contemplates a completed event, an actual

importation,” and “[t]hat did not occur in [that] case.” Id. at 1353. Chastain is of little help to

the Court in this case. Unlike in Chastain, the evidence presented at trial in this case clearly

indicated that the Defendants successfully imported considerable amounts of controlled

substances into the United States using non-commercial aircraft.

       More relevant are United States v. Iacullo and United States v. Joelson. In Iacullo, the

Eleventh Circuit affirmed a district court’s application of section 2D1.1(b) where “a private

plane was used several times to pick up cocaine in Colombia and fly it to the Bahamas, while the

cocaine was en route to this country,” because under these circumstances “it is clear that a

private plane ‘was used,’ within the meaning of § 2D1.1(b)(2)(A), during the importation

scheme, of which [defendant] was an active participant.” United States v. Iacullo, 140 F. App’x

94, 102 (11th Cir. 2005). In Joelson, the Ninth Circuit took the opposite position. In that case,

the court vacated a district court’s application of the enhancement where a private plane flew

cocaine to Guatemala, but a commercial air carrier was used to actually bring the drugs across

the American border. United States v. Joelson, 7 F.3d 174, 180 (9th Cir. 1993).



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       These two cases are irreconcilable. Ultimately, the Court finds the Eleventh Circuit’s

interpretation of section 2D1.1(b) in Iacullo more convincing because it better reflects the plain

meaning of the text of the guideline. As stated above, section 2D1.1(b) authorizes an increase

“[i]f the defendant unlawfully imported or exported a controlled substance under circumstances

in which . . . an aircraft other than a regularly scheduled commercial air carrier was used to

import or export the controlled substance.” The Ninth Circuit’s narrow interpretation, for which

Defendant argues, is not required by the plain meaning of this text. Where, as here, drugs are

conveyed by non-commercial aircraft as part of an importation scheme while they are en route to

the United States, the aircraft can be said to be “used” to import drugs even if it is not the

ultimate conveyance of the drug across the American border.

       In sum, the Court concludes that a two level increase in the offense level computation

under section 2D1.1(b) is appropriate in this case.

C. Organizer or Leader

       Defendant also argues that the Court should not apply an enhancement to his sentence for

his having been an organizer or leader of a drug conspiracy with five or more participants.

U.S.S.G. 3B1.1(a). The Court agrees with the Probation Officer and the Government that this

enhancement applies.

       First, there were clearly at least five participants in Defendant’s conspiracy, including his

father, two brothers, business associates (Otto Herrera, Sebastiana Cotton, David Andrade,

Marllory Chacon, etc.) and workers who reported to the Defendant and his brother Eliu

Lorenzana-Cordon (Guasha, Luisito, Rigo Salguero, etc.).

       Second, the record shows that Defendant was an organizer or leader of this conspiracy.

In making this determination, the Court is instructed by the Sentencing Guidelines and the



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commentary thereto. That commentary instructs that “[f]actors the court should consider include

the exercise of decision making authority, the nature of participation in the commission of the

offense, the recruitment of accomplices, the claimed right to a larger share of the fruits of the

crime, the degree of participation in planning or organizing the offense, the nature and scope of

the illegal activity, and the degree of control and authority exercised over others.” U.S.S.G.

3B1.1, n.4. It also instructs that “[t]here can, of course, be more than one person who qualifies

as a leader or organizer of a criminal association or conspiracy.” Id. 1

       Defendant organized and was present at high-level meetings and negotiated major drug

deals. See, e.g., ECF No. 795 (March 14, 2016 Trial Transcript, afternoon) at 45, 48, 60. He was

involved in investment decisions. See, e.g., ECF No. 796 (March 15, 2016 Trial Transcript,

morning) at 25:14-15. He had his own customers. See, e.g., ECF No. 780 at 64. Witnesses

referred to him as a “big fish.” See, e.g., ECF No. 788 at 44:21. As described in more detail

below, lower-level participants in the conspiracy worked for Defendant. See, e.g., ECF No. 796

at 16; ECF No. 775 (February 24, 2016 Trial Transcript, morning) at 74; ECF No. 784 (March 3,

2016 Trial Transcript, afternoon) at 46-47. In fact, there is testimony that he oversaw large

numbers of armed men on his property. See, e.g., ECF No. 788 at 40. These are not the

characteristics of a low-level, or even a mid-level, participant in a drug trafficking conspiracy.

They are the indicia of a high-level organizer and leader.

       Defendant’s argument that this enhancement cannot apply to him because he did not

supervise any “participants” in the conspiracy is unavailing. “A ‘participant’ is a person who is

criminally responsible for the commission of the offense, but need not have been convicted.”


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 Accordingly, the fact that the Court has already determined that Defendant’s brother, Eliu
Lorenzana-Cordon, also qualifies as an organizer or leader of the conspiracy, ECF No. 991 at 14,
does not mean that Defendant cannot also be an organizer or leader.

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U.S.S.G. 3B1.1, n.1. A party who gives knowing aid in some part of the criminal enterprise

qualifies as a “criminally responsible party.” United States v. Vega, 826 F.3d 514, 539 (D.C. Cir.

2016). The testimony at trial demonstrated that Defendant shared oversight for several

criminally responsible “participants.”

       First, the record contains various references to Defendant directly overseeing small

groups of unnamed workers. See, e.g., ECF No. 775 at 74:21-23 (noting that Defendant had

“two or three” workers). Second, the evidence demonstrated that Defendant shared oversight of

certain specific individuals involved in the drug trafficking organization: Luisito Salguero, Rigo

Salguero and La Guasha. Although there was some testimony at trial that referenced these

individuals only in the context of working for Defendant’s brother, Eliu, see, e.g., ECF No. 784

at 47:5-6 (referring to La Guasha as “Eliu’s worker”); ECF No. 786 at 27:19-21 (same), there

was also testimony that these men were “in charge of logistics for Eliu Lorenzana and Waldemar

Lorenzana.” ECF No. 795 at 54:23-55:1 (emphasis added). At least one of these men was also

described as a “worker” of Defendant Waldemar who was “in charge of delivering the U.S.

dollars.” Id. at 63:22-25. Other testimony refers to the men as “employees” of both brothers.

See ECF No. 796 at 16:5-8. This testimony establishes these “workers” or “employees” as both

being knowing, criminally responsible participants in the drug trafficking conspiracy (primarily

overseeing the logistics of the trafficking), and as being supervised—at least in part—by the

Defendant.

       Finally, even if the testimony described above left any uncertainty, the testimony of

Sebastiana Cotton firmly establishes that Defendant personally, and without the involvement of

his brother, supervised “participants.” As already referenced, Cotton testified that when she

went to Defendant’s property for a negotiation, Defendant had 80-100 armed men present, at



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least ten of whom surrounded the table at which they negotiated. See ECF No. 788 at 40-44.

Importantly, one of those men, Juancho Leon, sat at the table with Defendant Waldemar and

Cotton during the negotiations. Id. Throughout the meeting, Juancho Leon’s gun was pointed at

Cotton, and he would touch it any time she moved. Id. While Cotton was in the bathroom,

Juancho Leon told her cousin that if she “ma[d]e any moves” he would shoot her. Id. This

meeting took place at Defendant’s house, and at Defendant’s invitation. The reasonable

conclusion from this testimony is that these men were effectively Defendant’s henchmen, whose

task it was to intimidate and, if necessary, use force on behalf of the Defendant. As such, they

gave knowing aid to Defendant’s criminal enterprise. Accordingly, the sentencing enhancement

for leaders or organizers is appropriately applied to Defendant.

D. Multiple Conspiracies

       Finally, the Court does not understand Defendant’s sentencing-related filings as an

attempt to re-litigate the Court’s rulings on the multiple conspiracies argument Defendants have

repeatedly raised during this case. Nonetheless, because the nature of the conspiracy is

implicated by the arguments in Defendant’s pleadings (e.g., Defendant’s argument that he did

not play a leadership or organizing role in the conspiracy because he was merely a

“subcontractor” of Otto Herrera-Garcia), the Court simply notes for the record that it has already

explained its reasoning for rejecting this argument in two separate Orders. See June 2, 2017

Mem. Op. and Order, ECF No. 931 (“June 2 Op.”), at 5-9; March 16, 2016 Mem. Op. and Order,

ECF No. 762. As the Court most recently explained:

               The Court begins its analysis with Defendants’ arguments regarding
               whether the evidence at trial demonstrated a single conspiracy or
               multiple conspiracies. Defendants both challenge the Court’s denial
               of Defendants’ joint request for a jury instruction on multiple
               conspiracies. WLC Mot. at 18-20; ELC Reply at 7-8. Defendant Eliu
               in particular also goes a step further and argues that there was

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     insufficient evidence to support the existence of a single conspiracy
     and that accordingly there was a variance between the conspiracy
     charged in the indictment and the evidence at trial. ELC Mot. at 23-
     29. The standards for these arguments are somewhat distinct. With
     respect to Defendants’ challenge to the Court’s denial of a multiple
     conspiracy jury instruction, “[i]f the record support[ed] the
     existence of multiple conspiracies, the jury [should have been]
     instructed to consider them.” United States v. Brockenborrugh, 575
     F.3d 726, 737 (D.C. Cir. 2009); see also United States v. Graham,
     83 F.3d 1466, 1472 (D.C. Cir. 1996) (“Our rejection of appellants’
     insufficiency claim does not obviate the need to address this issue,
     for if record evidence supports the existence of multiple
     conspiracies, the district court should have so instructed the jury.”).
     With respect to Defendant Eliu’s insufficiency argument on the
     other hand, “[t]he verdict must be upheld if the evidence adequately
     support[ed] a finding that a single conspiracy existed,” and the Court
     “[v]iew[s] the evidence in the light most favorable to the
     government.” United States v. Tarantino, 846 F.2d 1384, 1391 (D.C.
     Cir. 1988). Regardless of this distinction, both of these arguments
     fail because the evidence at trial demonstrated a single conspiracy,
     and did not support the existence of multiple conspiracies.

     As Defendant Waldemar acknowledges, the Court already
     considered and rejected Defendants’ argument that the evidence
     demonstrated multiple conspiracies in a “detailed Memorandum
     Opinion.” WLC Mot. at 18. On March 16, 2016, the Court issued a
     Memorandum Opinion and Order denying Defendants’ Joint
     Defense Motion for Multiple Conspiracy Instruction explaining why
     it found that the record evidence did not support the existence of
     multiple conspiracies. See Memorandum Opinion and Order (March
     16, 2016), ECF No. 762. The Court will not repeat that analysis here,
     but instead reaffirms it and incorporates it in full such that it is a part
     of this Memorandum Opinion. The Court has reviewed all of the
     arguments in the parties’ post-trial briefs and has also gone back and
     reviewed the relevant portions of the record. The Court has in
     particular reviewed the portions of the record cited by the
     government that indicate that the evidence at trial showed that the
     conspirators shared a common goal, were interdependent, and
     overlapped with each other to at least some degree. See
     Brockenborrugh, 575 F.3d at 737 (“Whether a course of conduct
     should be classified as a single conspiracy or divided into multiple
     conspiracies depends on whether the participants shared a common
     goal, were dependent upon one another, and were involved together
     in carrying out at least some parts of the plan.”). For the reasons set
     forth in the Court’s March 16, 2016 Memorandum Opinion and
     Order, the Court reiterates that the evidence was sufficient to

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      demonstrate the existence of a single conspiracy, and did not support
      the existence of multiple conspiracies.

      The Court also now adds that Defendants’ multiple conspiracy
      arguments fail for the additional reason that Defendants have not
      demonstrated any prejudice. A variance between single and multiple
      conspiracies can only be grounds for reversal if it “substantially
      prejudices the defendant, as, for example, if the jury were
      ‘substantially likely to transfer evidence from one conspiracy to a
      defendant involved in another.’” United States v. Gatling, 96 F.3d
      1511, 1519 (D.C. Cir. 1996) (quoting Tarantino, 846 F.2d at 1391).
      “Substantial prejudice occurs when multiple defendants are charged
      with a large and complex conspiracy and spillover prejudice
      confuses the jurors.” United States v. Mathis, 216 F.3d 18, 25 (D.C.
      Cir. 2000). Similarly, failure to give a multiple conspiracy
      instruction is grounds for reversal only if the failure was prejudicial.
      United States v. Cross, 766 F.3d 1, 4 (D.C. Cir. 2013).

      Assuming for the purposes of Defendants’ arguments that the
      evidence at trial had demonstrated multiple conspiracies,
      Defendants have not suggested any plausible way in which this
      prejudiced them. The Court is not persuaded by Defendants’
      conclusory statements that they were prejudiced, see ELC Mot. at
      28, because even if the Court were to accept that there were multiple
      conspiracies at play, the evidence certainly did not demonstrate any
      conspiracies that did not involve the Defendants. Accordingly, the
      danger of “spillover prejudice” to Defendants from one conspiracy
      to another is muted. See United States v. Gaviria, 116 F.3d 1498,
      1533 (D.C. Cir. 1997) (“Naranjo played a role in all aspects of the
      conspiracy. Accordingly, even if there were three separate
      conspiracies, Naranjo would have to be deemed a member of each
      and could not, therefore, have been the victim of any spillover
      prejudice.”). Moreover, the Court agrees with the government that
      the danger of confusing the jury in this sense was very minimal
      given that there were only two Defendants at issue in this case. Id.
      (holding that “[t]he risk of ‘spillover prejudice,’ which may occur
      when a jury imputes evidence from one conspiracy to a defendant
      involved in another conspiracy, is less likely the fewer the
      defendants” and finding no such prejudice had occurred because
      “[o]nly four defendants were tried in this case.”). Accordingly, for
      the independent reason that Defendants have not demonstrated
      prejudice, their multiple conspiracy arguments fail.

      Finally, the Court pauses to address two arguments raised by
      Defendant Waldemar in his request that the Court reconsider this
      decision. First, Defendant contends that the government conceded

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               that there were multiple conspiracies at issue in its closing argument.
               Having presided over the presentation of that argument and having
               reviewed the transcript carefully, the Court finds no merit in this
               contention. In its closing argument, the government noted the fact
               that certain witnesses were from different places than, and did not
               have relationships with, other witnesses. But the government did not
               suggest, let alone concede, that there were multiple conspiracies in
               the legal sense relevant to Defendants’ argument. Instead, the
               government was merely noting that the testimony of these
               cooperating witnesses was reliable because they all testified
               consistently about the conspiracy despite having independent bases
               for their knowledge.

               Second, Defendant Waldemar contends that the Court should
               reconsider its ruling because it “relied heavily on the assertion that
               the Lorenzana brothers were the leaders” of a conspiracy, whereas
               in reality Otto Herrera was the conspiracy’s leader. This argument is
               also not persuasive. As an initial matter, even if Defendants were not
               the “leaders” of the conspiracy, it is unclear why that necessarily
               means that the evidence demonstrated multiple conspiracies.
               Moreover, the Court simply disagrees that the evidence presented at
               trial demonstrated that Otto Herrera was the leader of the conspiracy
               at issue. Otto Herrera may have been a more significant or well-
               known drug trafficker in a general sense, but that does not mean that
               he was necessarily the leader of the particular conspiracy the
               government presented at trial, which focused on the Defendants and
               was different than the Otto Herrera Drug Trafficking Organization
               (“DTO”). Finally, regardless of Otto Herrera’s purported leadership,
               “[t]here can, of course, be more than one person who qualifies as a
               leader or organizer of a criminal association or conspiracy.” United
               States v. Bras, 483 F.3d 103, 113-14 (D.C. Cir. 2007) (internal
               quotation omitted). For the above reasons, the Court reaffirms its
               March 16, 2016 Memorandum Opinion and Order, incorporates into
               this Memorandum Opinion and Order as though stated in full, and
               rejects Defendants’ multiple conspiracy arguments.

June 2 Op. at 5-9. Defendant has raised no reason for revisiting this holding. Accordingly, any

arguments Defendant has attempted to make related to his sentencing with respect to multiple

conspiracies are rejected.

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       Having resolved the contested issues addressed above, the Court will set a hearing for

Defendant’s sentencing by separate Order.

       SO ORDERED.
                                                       /s/
                                                    COLLEEN KOLLAR-KOTELLY
                                                    United States District Judge




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